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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

 DIGERATI DISTRIBUTION &
 MARKETING, LLC,

                   Plaintiff,

        v.                                          Civil Action No. 1:22-cv-1302-DII

 CONRADICAL SÀRL; and
 CONRAD GRINDHEIM,

                   Defendants.

 CONRADICAL SÀRL,

                   Counter Plaintiff,

        v.

 DIGERATI DISTRIBUTION &
 MARKETING, LLC; BIG SUGAR LLC; and
 SARAH ALFIERI,

                   Counter Defendants.


                                           ORDER
       Before the Court is Plaintiff’s Unopposed Motion for Extension of Time to File Reply

in Support of Motion for Preliminary Injunction [ECF No. 25]. The Court, having reviewed

the Motion, finds that good cause has been shown and GRANTS the Motion. Therefore, the

deadline for Digerati to serve a reply in support of its Motion for Preliminary Injunction [ECF

No. 18] is July 10, 2023.

       SIGNED:       ________________




                                             UNITED STATES DISTRICT JUDGE



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